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                                                                      FILETD
                                                                               COURT
                                                                                 V.
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA           2Dfl9 APR -6 AN U: 12
                           WAYCROSS DIVISION
                                                           CLEF, rK           ___________
UNITED STATES OF AMERICA                                          SO. LJ1S^
                                                                          - --OF GA.

V.                                           CASE NO. CR597-003

RONNIE LEE WILLIAMS,

      Defendant.


                                 ORDER

      Before the Court are Defendant Ronnie Lee Williams's Motion

for Reconsideration (Doc. 1892) and "Request for Excusable

Neglect (Doc. 1893)," which this Court construes as a Motion for

Extension of Time to file a motion for reconsideration. After

careful consideration, Defendant's Motion for Extension of Time

is GRANTED and Defendant's Motion for Reconsideration is DENIED.

      On March 14, 2008, Defendant filed a Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offenses.

(Doc. 1849.) In its July 21, 2008 Order, this Court denied

Defendant's Motion because his statutory minimum sentence was

life imprisonment.       (Doc. 1876.)     In response, Defendant filed

the Motions presently before the Court. In his Motion for

Extension of Time, Defendant states that he was unable to work

on his Motion for Reconsideration because the correctional

facility he was housed at was "locked down" on July 29, 2008 due

to a serious assault.         (Doc. 1893.)     Defendant alleges that,
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even after the "lock down" was lifted, increased security

procedures at the prison prevented him from preparing his

Motion. (Id.) In support, Defendant has provided the Court

with a Memorandum, from the facility's warden to the inmate

population, explaining the reasons for the "lock down" and

increased security measures. (Id., Ex. A.) After careful

consideration, Defendant's Motion for Extension of Time is

GRANTED because the Court finds that an extension in warranted

under Federal Rule of Appellate Procedure 4 (b) (4) Therefore,

Defendant's Motion for Reconsideration, dated September 3, 2008,

is timely with respect to this Court's July 21, 2008 Order.

     In his Motion for Reconsideration, Defendant reiterates his

prior argument that he is entitled to a reduced sentence based

on the 2007 amendment to the sentencing guidelines for crack

cocaine offenses. (Doc. 1892.) After careful consideration,

the Court finds no reason to disturb its prior Order.

Accordingly, Defendant's Motion for Reconsideration is DENIED.

     SO ORDERED this          day of April, 2009.



                           WILLIAM T. MOORE, JR. CHIEF JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
